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                            UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                               )
                                                       )       Case No.3:11-cr-00012
               v.                                      )
                                                       )
                                                       )
DEMETRIUS DUNCAN [14]                                  )
ALTO PARNELL [22]                                      )       JUDGE SHARP
CHRIS YOUNG [27]                                       )


       MOTION TO SUBSTITUTE PHOTOGRAPHS FOR PHYSICAL EXHIBITS

       Comes now the United States and requests the attached photographs be substituted in the

record of this case for the drug and firearm exhibits introduced at trial. These exhibits were

returned to the case agent at the conclusion of trial, and he will be returning the firearm exhibits to

ATF for storage, and the drug evidence to either the DEA-Miami office or the Clarksville Police

Department for storage. In order to have a record of these exhibits, the United States requests the

attached photographs be substituted for the physical exhibits numbered as follows:

Exhibits 115b, 254a, 254b, 256-4, 261, 271-4, 281-1, 281-13, 291-6, 291-12, 291-13, 301a, 311a,

311b, 312-1, 321a, 321b, 321c, 321e, 331a, 331b, 331c, 331e, 341a, 342-9, 342-10, 351a, 351b,

352-5a, 352-8, 361a, 362-3, 362-4, 362-5, 362-7, 362-8, 371-2, 371-3, 381a, 381b, 382-2, 391a,

391b, 391c, 391d, 391e, 411a, 421a, 421b, 422-7, 430a, 430b, 435-1, 435-2,

       Counsel for defendants Demetrius Duncan, Alto Parnell, and Chris Young have authorized

the undersigned to state that the defense has no objection to this motion.




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